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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

 UNITED STATES OF AMERICA                               UNDER SEAL

                  v.                                    Case No. 1:25-mj-373

 PETER ANDREW STINSON,


                   Defendant.


                                        ORDER TO SEAL

       The UNITED STATES, pursuant to Local Rule 49(B) of the Local Criminal Rules for the

United States District Court for the Eastern District of Virginia, having moved to seal the

complaint, affidavit in support of the complaint, arrest warrant, the Motion to Seal, and proposed

Order in this matter; and

       The COURT, having found that revealing the material sought to be sealed would jeopardize

an ongoing criminal investigation; having considered the available alternatives that are less drastic

than sealing, and finding none would suffice to protect the government=s legitimate interest in

concluding the investigation; and finding that this legitimate government interest outweighs at this

time any interest in the disclosure of the material; it is hereby

       ORDERED, ADJUDGED, and DECREED that, the complaint, affidavit in support of the

complaint, arrest warrant, Motion to Seal, and this Order be Sealed until the defendant is arrested.


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                                                       Lindsey R Vaala            Date: 2025.06.13 15:21:29
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                                                      Hon. Lindsey R. Vaala
                                                      UNITED STATES MAGISTRATE JUDGE
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Date: ___________________
      Alexandria, Virginia
